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             7
                                           UNITED STATES DISTRICT COURT
             8
                                                   DISTRICT OF NEVADA
             9
                   TRINITA FARMER,                                               Case Number:
            101
                                                Plaintiff,                  2:18-cv-00860-GMN-VCF
C.7         11 '
z                         ~S.
w      ~ 12                                               DEFENDANT LVMPD'S OPPOSITION
                  LAS   VEGAS    METROPOLITAN POLICE         TO PLAINTIFF'S MOTION TO
O ~~ 13
               'I DEPARTMENT,a political subdivision of   COMPEL DEFENDANT LVMPD'S(1)
     N ,., M
     7            the State of Nevada; KENNETH LOPERA, CIRT REPORT;(2)GIRT STATEMENT
V~ Q~~ 14 individually; TRAVIS CRUMRINE,                   OF KEN LOPERA; AND (3)REVIEW
     ~~        '~ individually; MICHAEL TRAN,individually BOARD MINUTES AND DOCUMENTS
pa~~~<
~,./ ~ z w 15 'i and MICHAEL FLORES,individually,
~
~- a o~n~
~ o>~
  -- ~ N
         16                                     Defendants.
~     J W


~      0 17
O►                        Pursuant to Fed.R.Civ.P. 26(b)(1), Defendant Las Vegas Metropolitan Police
~           18
                   Department ("LVMPD"), by and through its counsel of record Craig R. Anderson, Esq. of
            19
                   Marquis Aurbach Coffing, hereby responds to Plaintiff's Motion to Compel filed with this
            20
                   Court on December 21, 2018. (ECF No. 38.) This response is based on the pleadings and
            21
                   papers on file herein, the following Memorandum of Points and Authorities, and the
            22
                   arguments of counsel that may be heard by this Court pursuant to LR 78-2.
            23
                                    MEMORANDUM OF POINTS AND AUTHORITIES
            24
                   I.     INTRODUCTION
            25
                          This is a 42 U.S.C. § 1983 a lawsuit. On May 14, 2017, Tashii Farmer ("Decedent")
            26
                   died during a struggle with Las Vegas Metropolitan Police Department ("LVMPD")
            27
                                                             Page 1 of 16
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                1   officers. Plaintiff Trinita Farther ("Plaintiff') is the Decedent's mother. According to her
                2 lawsuit, the LVMPD officers violated her Fourteenth Amendment right to a familial

                3 ~ relationship with her adult son.

                4          Because LVMPD officers were involved in the Decedent's passing, LVMPD

                5 conducted a thorough and comprehensive investigation into the incident. All of the factual

                6 evidence obtained during the investigation has been provided to the Plaintiff. In addition,

                7 LVMPD has produced all policy changes, allowed testimony regarding any and all

                8 discipline the officers received, and produced all related training. The only tangible items

                9 not produced by LVMPD related to the subject incident are: (1)LVMPD's Critical Incident

               10 Report Team's report ("GIRT Report");(2) documents and tangible items from LVMPD's

~              11   Critical Incident Review Process ("CIRP"); and (3) defendant Kenneth Lopera's compelled
z
w        ~ 12 GIRT statement.
O         °°
V ~~M  ~~      13          The GIRT Report and CIRP documents are intertwined. LVMPD takes its critical
   .>_ ~. --
UQ~~           14 incident investigations seriously. As such, it promises its participants and investigators
~   _ ~~
~qX~~C
~/ ~zw         15 confidentiality to ensure frank and candid discussions regarding LVMPD's internal policies
~~'~~
~ o>~
   -^ ~ N
               16 and procedures. At the conclusion of the investigation, the involved LVMPD investigators
~     a~


~        0 17 deliberate and determine whether any LVMPD policies and/or practices were violated and
O~
~              18 whether any modifications or changes are necessary to existing policies.                The GIRT
►_~
               19 conclusions are then presented during the CIRP process. LVMPD designed this entire

               20 process with the Deliberative Process Privilege in mind. Because Plaintiff has all of the

               21   documents relied upon by GIRT and CIRP, LVMPD has satisfied its disclosure obligations

               22 under the law.

               23          With respect to defendant Lopera's GIRT statement, LVMPD has protected the
               24 statement due to criminal charges levied against Lopera and the threat of future federal

               25 criminal charges. Lopera has invoked his Fifth Amendment right with respect to the

               26 statement. LVMPD has informed Plaintiff it will produce the statement if Lopera agrees or

               27 this Court orders its production.
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             1 II.      FACTUAL AND PROCEDURAL BACKGROUND

             2          A.     RELEVANT FACTS

             3                 1.      The Subiect Incident

             4          On May 14, 2017, the Decedent approached LVMPD officers Lopera ("Lopera") and

             5 Ashley Lif("Lif') at the Venetian Hotel &Casino. The Decedent complained that people

             6 were following him and then ran from the officers into an "employee only" area of the

             7 Venetian. Lopera followed the Decedent outside of the Venetian and into the street.

             8 Believing that the Decedent was attempting to carjack a passing vehicle, Lopera attempted

             9 to take the Decedent into custody. Lopera and the Decedent eventually ended up on the

            10 ground where Lopera placed the Decedent in a neck restraint. After Lopera initiated the

~           11 neck restraint, Sergeant Crumrine arrived on scene. About thirty seconds after Crumrine
z
w      ~ 12 arrived, officers Tran and Flores arrived. Crumrine, Tran, and Flores had no information as

~
U     ~' 13 to what had occurred prior to their arrival. Pursuant to their training, the late-arriving
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     ~ M
     ~~

UQ~~ 14 officers immediately intervened by issuing orders and physically assisting Lopera with the
~_~`
~ X ~~<
~/ ~zw 15handcuffing of the Decedent. About 70 seconds after Crumrine arrived and 40 seconds after
~ ~~
~ o>~ 16 Tran and Flores arrived, the Decedent was successfully handcuffed. It is undisputed that all
F~1 ~ ~ M

~      0 17 officers (including Lopera) ceased using any force the moment handcuffing was complete.
O~
~           18 After handcuffing, the officers realized that the Decedent was unresponsive and began CPR

            19 efforts. Unfortunately, he passed away. The parties dispute the cause of death.

            20                 2.      LVMPD's Internal Investigations into the Event
            21          On the date of the subject incident, LVMPD had detailed policies and practices

            22 regulating internal investigations and internal evaluations concerning officer involved deaths

            23 and other critical incidents. The purpose of these policies is to improve the internal and

            24 external review process while simultaneously respecting the personal rights of officers and

            25 the deliberations of LVMPD's top highest ranking officials. The following briefly addresses
            ~►" the policies and procedures that were utilized regarding the subject case.

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                1                         a.     The FIT and CIRT Investigations

                21         LVMPD has two distinct tracks of review. The first track is conducted by LVMPD's

                3 Force Investigation Team ("FIT"). See Sheriff Lombardo Declaration attached as Exhibit A

                4 at ~9. The purpose of the homicide investigation is to gather all available information and

                5 evidence to assist the District Attorney's Office in determining whether any criminal

                6 conduct occurred during the critical incident. Id. at ¶10, see also LVMPD policy 5/109.02

                7 attached as Exhibit B.1       In the Farmer case, Det. Trevor Alsup was the lead FIT

                8 investigator.2 Ex. A at ¶9.

                L]         The second track of review is handled by LVMPD's Critical Incident Review Team
               10~ ("GIRT"). Ex. A at ¶10. The purpose of the GIRT investigation is purposefully distinct

~              11 from the FIT team. Id. GIRT is a team of full-time employees who conduct a mandatory
z
w         ~ 12 investigation into all critical incidents. GIRT was specifically created with the Deliberative
O         °°
V    ~ N
       W
               13 Process Privilege in mind. Id. at ¶3-6. The team and its purpose is designed to allow for
     N~M


V Q`~~ 14 candid and honest dialogue within LVMPD to allow for the creation or modifications of
Q~ ~ ro

~ ~z~
    w 15 LVMPD's policies and training. Id. at ¶10. In other words, the purpose of GIRT is to act as
~a~~

~ o>~
   ~ N
       16 a self-critical process to assist in improving and evaluating LVMPD's policies and training.
~     a °~
~         0 17 Thus, the FIT investigation is a traditional investigation looking at criminality, while the
O~
~              18 GIRT tract is an "administrative" evaluation ofthe incident.
►!
               19          Although the FIT and GIRT investigations are distinct and independent, there is

               20 obviously some commonality between the two processes. Ex. A at ¶11. LVMPD policy

               21 establishes the general protocol for both.       Once a critical incident occurs, it is the

               22 responsibility of any officers on the scene to secure the scene and immediately notify

               23 LVMPD communications and a supervisor. Id. at ¶12. The first supervisor on scene

               24

               25 'LVMPD Post Use of Force Policy 5/109.01. This policy is authenticated in the Declaration of
                  Sherriff Lombardo at Ex. A at ¶10.
               26
                  Z All documents created by Det. Alsup and his FIT report have been produced in this litigation.
               27 Declaration of Craig R. Anderson attached as Exhibit C.
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             1   assumes responsibility as the "Incident Commander." Id. at ¶13. In this capacity, the first
            2 supervisor addresses the most immediate and urgent needs, such as directing medical

            3 attention to those who need it and continuing security of the scene. In conjunction, the first

            4 supervisor is directed to obtain a "Public Safety Statement" from officers. Id. The public

            5 safety statement consists of responses to apre-defined series of questions which are as

            6 follows:

            7            1.     Is anyone injured? If so, where are they located?

            8            2.      Are there any outstanding suspects? If so, what is their description,
                         direction and mode of travel? How long have they gone? What crimes) are
            9            they wanted for? What weapons are they armed with?
            10           3.     Were you involved in an officer involved shooting?

~           11          4.      Approximately where were you when you fired the rounds?
z
w      ~ 12              5.     Approximately how many rounds did you fire and in what direction
                         did you fire them?
~    ~~ 13
     ,~ M
                         6.     Do you know if any other officers fired any rounds?
UQ~~ 14
~_~`
~ ~ ~x                   7.     Is it possible the suspect fired rounds at you? If so, from what
~/ ~zw 15
~a~~
                         direction were the rounds fired?

~ o>~ 16                 8.     Are there any weapons or evidence                 that     needs     to    be
cn ~a
    RM
H                        secured/protected? Where are they located?
~      0 17
                         9.     Are you aware of any witnesses? If so, what is their location?
~           18
►~                       The information acquired in the Public Safety Statement is consistent with the initial
            19
                 objectives and responsibilities of the first supervisor: (1) determine the number and identify
            20
                 '~ of those needing medical attention; (2) determine information about suspects who are not
            21
                 accounted for; and (3) gather information necessary to secure the scene for further
            22
                 investigation. Id. at X14.
            23
                         While the first supervisor is performing these tasks, LVMPD Communications
            24
                 Section is responsible for notifying the personnel who are to respond to the scene. Among
            25
                 others, FIT and GIRT are notified. Id. at ¶15. Once all essential personnel are on scene, an
            26
                 initial briefing is held. Both FIT and GIRT attend the initial briefing. Id. at ~¶16-17.
            27
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              1          Following that, FIT coordinates awalk-through of the scene with the involved
              2 officer. Id. at X17. If there is more than one officer involved, multiple walk-throughs will be

              3 conducted. The walk-through is designed to identify locations where physical evidence

             4 might be found and to provide the FIT investigators with a general understanding of the

              5 scene. Id. at ¶17. The walk-throughs are not recorded. GIRT is excluded from the walk-

              6 through procedure, but is briefed on it by the homicide investigators. Id. CIRT is also given

              7 an opportunity to perform its own walk-through after FIT.              Id.    At that point, the

              E:~ responsibilities and protocol of FIT and CIRT differ. Id. at ¶18. FIT continues its

              ~'. investigation until completion and then presents the information to the District Attorney's
             10 Office. CIRT's involvement remains solely internal.

~            11          The critical differences between FIT and CIRT procedures are two-fold. First, the
z
w      ~ 12 purpose and objective of the FIT process is to gather information necessary to determine
O      °°
V     ~~ 13 whether any conduct of an officer involved in the critical incident constitutes a criminal act.
     N ~ M


~U Q~~ 14 Id. at ¶19. The purpose and objective of the CIRT process is to evaluate the application,
       ~~
~ ~ ~~
~,,,i✓ a N w I S misapplication, lapse or neglect of training, policies and procedures in order to determine
~ ~~
~ o>~ 16 whether modifications of any internal rules or practices are required. Id. And, second,
cn~~~
H  a M

~       0 17 given the criminal nature ofthe FIT process, officers are -and must be -afforded the right to
a
~            18 decline to submit to an interview. Id. at ¶19. On the contrary, given the administration
►!
             19 nature of the CIRT process, officers involved in a shooting are compelled to submit
             20 themselves to an interview as they are in the best position to assist in the improvement of

             21 internal procedures. Id. at ¶20. Officers face termination if they refuse to give a CIRT

             22 statement. FIT is required to share all of its information with CIRT. CIRT,on the contrary,

             23 is strictly prohibited from sharing compelled information from involved officers with FIT.
             24 Id.

             25          Once FIT's investigation is complete, it turns its FIT Report and accompanying
             26 ~ evidence to the District Attorney's Office for review. The District Attorney then determines

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              1   whether criminal charges are necessary and then it holds a Fatality Review Board to make

              2 its findings public.

              3           After the District Attorney makes its final decision and releases the FIT file back to

              4 LVMPD, the CIRT team finishes its internal investigation. The CIRT team uses the FIT

              5 Report and the statements CIRT compelled from involved officers. After obtaining all

              6 factual evidence, the CIRT team then creates its GIRT Report. Id. at ¶24. The purpose of

              7 the GIRT Report is to report the facts of the incident and then analyze the facts for potential

              8 tactical errors, training errors, and/or policy violations. The CIRT team then recommends to

              9 the sheriff any new training and/or new policies it believes may be necessary and/or

             10 beneficial to LVMPD. Id. at ¶26; Ex. B. The CIRT team members are assured of the

~            11 confidentiality of their reports and forbidden to disseminate the report.                Id. at ¶26.
z
w      ~ 12 Obviously, the reason behind this confidentiality is to ensure the CIRT team is candid and
O      °° 13 honest regarding their evaluation and not concerned with potential legal or internal fallout
U ~~M ~~
        -~
UQ~~  ~~     14 resulting from their decisions/opinions. Thus, the goal of the CIRT Report is to candidly
~ _
~ azw
~
~ ~~
             15 evaluate LVMPD's policies and procedures, identify potential problem areas, and make

~ o>~
  .-~ ~ N
             16 recommendations to the sheriff regarding policy and training. Id.
~    a~


~      O L/                              b.     The Critical Incident Review Process
~            18           After the CIRT Report is completed, the next step is the Critical Incident Review

             19 Process ("CIRP"). The CIRT Report identifies specific officers who must attend and

             20 participate in the CIRP process. Id. at ¶¶27-33. Prior to the CIRP, the summoned officers

             21 are allowed to view the CIRT Report. They do not receive a copy of the CIRT Report. Id.

             22 at X29.

             23           CIRP is conducted in two parts. The first part is the Use of Force Review Board
             24 ~ ("UFRB"). UFRB evaluates only the actions of the officers) who actually used force (in

             25 this case Lopera, Crumrine, Tran and Flores). Id. at ¶28. The UFRB does not involve

             26 tactical issues and does not evaluate policy. After the UFRB ends, the second part occurs.

             27 The second part is called a Tactical Review Board ("TRB"). Id. at ¶28. The TRB evaluates
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              1 the tactics employed during the officer involved shooting.              The TRB evaluates the

              2 performance of any officer involved in the scenario. No reports are created during the

              3 CIRP. Id. at ¶30.

              4          According to Plaintiff, CIRT "found that Defendant Flores, Tran, and Crumrine all
              5 failed to intervene during the incident." ECF No. 38 at p.13:1-3. This is patently false.

              6 Initially, CIRT identified all potential policy and training violations with respect to all

              7 involved officers. It identified failure to intervene as a potential issue and investigated the

              8 issue with respect to Crumrine, Tran, and Flores. Kirkegard Depo. at p.49:24-p.50:12;

              9 p.57:7-14, attached as Exhibit F.3 After reviewing all of the available evidence, GIRT
             10 concluded that Crumrine, Tran, and Flores did intervene. Id. at p.51:10-25. Thus, Plaintiff's

~            11 unsupported representation to the contrary is false. Plus, it is obvious that Crumrine, Tran,
z
w      ~ 12 and Flores intervened. The video of the event show that all three officers immediately
O      °°
U     ~~ 13 intervened by giving orders to Lopera to stop the neck restraint and by assisting with the
     N ~ M
    .~ ~ ~

UQ~~ 14 handcuffing of Farmer within seconds of their arrival.
~_~~
~ ~z~
    w 15                 In short, Plaintiff's false representation that LVMPD's CIRT team "found" that the
~~- a o~n
~ o>~ 16 officers failed to intervene is irresponsible and demonstrably false. Rather, the evidence
~~~~
~   0 17 shows that the CIRT team identified potential training and policy issues, investigated the
O~
~     18 issues, and then reached sound conclusions.
►_~
      19         B.      RELEVANT PROCEDURAL AND DISCOVERY HISTORY
             20          Plaintiff Trinita Farmer is the mother the Decedent Tashii Farmer. The Decedent
             21 and his biological children have filed a separate action against these same defendants. See

             22 Estate ofTashii S. Fa~me~ v. LVMPD, et. al., 2:17-cv-01946-JCM-PAL. In the subject case,

             23 Plaintiff alleges that the individual defendant officers interfered with her Fourteenth

             24 Amendment right to familial relations with the Decedent. ECF No. 4 at First Claim for

             25 Relief. In addition, Plaintiff alleges supervisory liability against defendant Crumrine and a

             26

             27 3 Casey Kirkegard was the lead CIRT investigator and gave testimony in the Decedent's lawsuit.
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             1 Monello claim against defendant LVMPD. Id. at Second and Third Causes of Action. In the I

             2 Monell claim, Plaintiff alleges that an LVMPD policy, custom, or practice allowed the

             3 defendant officers to interfere familial relationship with the Decedent.

             4          On October 26, 2018, the LVMPD Defendants served their Initial Disclosure
             5 Statement in this matter. The disclosure was comprehensive, identifying fifty-one (51)

             6 witnesses and 4,667 pages of exhibits.          See LVMPD Defendants' Initial Disclosure

             7 Statement, attached as Exhibit D, without exhibits. On December 11, 2016, LVMPD

             8 supplemented the disclosure statement and provided all body worn camera videos from the

             9 subject incident. See LVMPD's First Supplemental to Disclosure Statement, attached as
            10 Exhibit E, exhibits omitted. LVMPD's Initial Disclosure Statement included the entire FIT

~           11 file and the entire GIRT file —except for defendant Lopera's compelled CIRT statement.
z
w     ~ 12 See Ex. D at Exhibits 24-62; see also Ex. C at ¶4. Thus, except for Lopera's CIRT
O     °°
      ~' 13 statement, Plaintiff is in possession of all the factual evidence generated by CIRT and CIRP.
V ~~M
  .>_~--
UQ~~~~ 14 The only documents LVMPD has withheld are the actual CIRT Report, the Tactical Review
~ _
~ ~zw 15 Board Memorandum,the Use of Force Board Memorandum, and Lopera's statement. Ex. C
~a~~

~ o>~
  r. ~ N
         16 at ¶2. Further, Plaintiff is aware of the CIRT and CIRP results — i.e., (1) criminal charges
~    a °O
~     0 17 were recommended against Lopera,(2) Lopera retired before his disciplinary proceedings
Ot
~           18 could be completed, (3) Crumrine was not confirmed as a sergeant and returned to his
►!
            19 position as a police officer, and (4) Tran and Flores were found in violation of LVMPD's

            20 body worn camera policy.

            21 III.     LEGAL ARGUMENT
            22          Plaintiff's motion to compel requests that LVMPD produce three specific items:(1)
            23 LVMPD CIRT Report;(2) Lopera's CIRT Statement; and (3) LVMPD's CIRP documents.

            24 ECF No. 38 at p.1:22-24.

            25

            26

            27 ( 4 Monell v. Dept ofSoc. Serv., 436 U.S. 658(1978).
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         1          It is LVMPD's understanding that Lopera is exercising his Fifth Amendment right
         2 with respect to his CIRT statement. Therefore, LVMPD will defer to his response on that

         3 issue. LVMPD has informed Plaintiff that it will produce the statement pursuant to a waiver

         4 from Lopera or a court order. As a result, LVMPD's argument focuses on the CIRT Report '

         5 and the memorandums and other tangible items created during the CIRP process. The

         6 argument regarding both items is identical and it is LVMPD's position that the deliberative

         7 process protects their disclosure.

         E:~        A.     THE DELIBERATIVE PROCESS PRIVILEGE
         G•l        The federal common law recognizes a Deliberate Process Privilege. Federal Trade

        10) Cornm'n v. Wa~ne~ Commc'ns, Inc., 742 F.2d 1156, 1161 (9th Cir. 1984). The purpose of

~       11 this privilege is to enhance and support communication incidental to improving the quality
z
w     ~ 12 of governmental policies, procedures and practices. Id. citing NRLB v. Sears, Roebuck &

~   ~ 13 Co., 421 U.S. 132, 150 (1975). The Deliberative Process Privilege extends to documents
U ~~M
   ~~
UQ~~ 14 which "reflect advisory opinions, recommendations and deliberations comprising part of a
~_~~
pgX~x
~/ a Nw 15process by which government decisions and policies are formulated." Id. citing NRLB, 421
~ ~~
~ o>~ 16 U.S. at 150. The ultimate purpose of the privilege is to protect the quality of agency
~~~~
1~1 a M

~    0 17 decisions by promoting frank and independent discussion among those responsible for

~       18 governmental decision-making. Wa~ne~ Commc'ns, 742 F.2d at 1161.

        19          Two threshold requirements must be first met prior to proceeding to the ultimate

        20 analysis involving a balance between the competing interests in confidentiality versus

        21 disclosure. First, the information must be "pre-decisional" - -meaning that it must exist as a

        22 foundational element of the deliberative process in which the material was utilized. Id. In

        23 this case, the entire CIRT process and creation of the CIRT Report took place in advance of

        24 the final decision making of the Sheriff and the subsequent officer discipline. Thus, the

        25 GIRT Report and CIRP easily satisfy the first threshold requirement.

        26          The second inquiry is whether the material is "deliberative in nature, containing
        27 opinions, recommendations or advice about agency policies." Id. When the information is
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                1 "purely factual" and "does not reflect deliberative process," it is not protected. Id. Here,

                2 there is a factual element to the CIRT Report. This factual information in the GIRT

                3 investigation is "interwoven" with deliberative material. Id. citing Binion v. Dept of

                4 Justice, 695 F.2d 1189, 1193 (9th Cir. 1983). Despite this factual overlap, the primary

                5 purpose of the CIRT Report is to critically evaluate LVMPD's policy and training and make

                6 policy recommendations. In addition, the involved officers are not treated as passive

                7 conveyors of rote information. Rather, the involved officers are encouraged and expected to

                81 actively participate in the review process, candidly evaluating the effectiveness of their

                L]' performance in the situation as well as the role of LVMPD policies which were applied and

               10 the quality of training received in advance of the encounter. Thus, although some of the

~              11 information contained in the CIRT Report is factual, it is not "purely factual" and is part of
z
w        ~ 12 the deliberative process. Still, LVMPD has voluntarily produced all of the factual evidence
O       °°
V      ~~ 13 I, generated and used to create the CIRT Report. It is undeniable that due to the critical nature
     N ,.. M


V Q~~~~ 14 j of the CIRT Report that it meets this second threshold requirement.
~ _
~ ~zQ w 15           Once these two threshold requirements are met, a court is then instructed to analyze
~ a~~
  -.
~ o>~ N
        16 the material under a four part balancing test:
~      ~~


~        0 17              (1)    The relevance of the evidence;
O~
~              18          (2)    The availability of other evidence;

               19          (3)    The government's role in the litigation; and

               20          (4)    The extent to which disclosure would hinder frank and independent
               21          discussion regarding contemplated policies and decisions.

               22          Warner Commc'ns, 742 F.2d at 1161. The following establishes that three of the

               23 four factors weigh heavily in favor of extending the Deliberative Process Privilege to the

               24 GIRT Report and CIRP.

               25

               ►..7

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              1            B.      LVMPD'S CIRT REPORT AND CIRP DOCUMENTS ARE
                                   PROTECTED BY THE DELIBERATIVE PROCESS PRIVILEGE
              2
                           CIRT was specifically created with the Deliberative Process Privilege in mind. Ex.
              3
                   A at ¶¶3-6. LVMPD intended to create an investigatory process that fostered candid and
              4
                   I forthright evaluation into officer involved shootings so that better policies and training could
              5
                   be created. It is purposefully separate from FIT so that all "purely factual" material would
              6
                   be available through FIT, but all policy formulation information will remain privileged.
              7
                   Here, LVMPD has made all factual evidence/information created by both FIT and CIRT
              8
                   available to Plaintiff Ex. C at ~3. The only information Plaintiff is missing is LVMPD's
              9
                   critical evaluation of: (1) LVMPD's policies and procedures, (2) the tactics used in this
             10
                    matter, (3) recommendations for future policies and training, and (4) Lopera's CIRT
~            11
z                   Statement.
w          ~ 12
O          °°                      1.      Prong 1: Relevance of the Evidence
U    y~ N
        W
           ~' 13
    ~~ M
                           Plaintiff takes the simple position that CIRT Report is relevant because it
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    ~ ro
                summarizes and evaluates factual evidence obtained during the investigation into the death
~ ~z~    w 15
   a a _,
      ~~        of the Decedent. ECF No. 38 at p.9:7-10. It is clear that Plaintiff does not understand the
~ .-.
   o>~'~ N
           16
~ ~W            Deliberative Process Privilege as she takes a rather simplistic approach. According to
~       0 17
O~              Plaintiff, the Ninth Circuit has "expressly held that facts and evidence are not protected by
~          18
                the Deliberative Process Privilege." Id. at p.9:12-17. This is why LVMPD voluntarily
           19
                produced all facts and evidence that it complied during the investigation — to comply with
           20
                the law and protect the deliberative nature of the CIRT Report. Plaintiff has all of the facts
           21
                and information necessary to create her own CIRT Report. All LVMPD is seeking to
           22
                protect is pre-decisional information that is deliberative in nature.
           23
                        Also, LVMPD's post-incident evaluation of its policies and procedures is not
           24
              ~ relevant. This case is about constitutional violations —not policy violations. The issue is
           25
                whether the defendant officers violated Plaintiff's constitutional rights. It is not about
           26
                internal policies that are more restrictive than the Constitution. See Scott v. Harris, 127
           27
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             1 S.Ct. 1769, 1773 n. 1 (2007) (it is "irrelevant to our analysis whether [defendant] had

             2 permission to take the precise actions he took); Davis v. Scherer, 468 U.S. 183, 193-96

             3 (1984) (It is settled law that a violation of departmental policy does not equate with

             4 constitutional unreasonableness); Abney v. Coe, 493 F.3d 412 (4th Cir. 2007). And, any

             5 complaints, discipline, or criticism ofthe involved officers are remedial measures taken after

             6 the incidents are inadmissible as subsequent remedial measures. See Fed.R.Evid. 403; see

             7 also Maddox v. City ofLos Angeles, 792 F.2d 1408, 1417-18 (9th Cir. 1986)(internal affairs

             8 evidence regarding the subject incident is inadmissible at trial because the investigation and

             9 results constitute subsequent remedial measures prohibited by Fed.R.Evid. 403).

            10          In short, Plaintiff is in possession of all "relevant" evidence and materials. LVMPD

~           11 has provided all of the information it accumulated with respect to the subject incident. If
z
w     ~ 12 this Court were to order production of the GIRT Report and CIRP documents, it is almost
O     °°
V    ~~ 13 certain that LVMPD investigators will be more cautious and less candid when formulating
    N ~ M


V Q ~~   ... 14 opinions and criticisms in future cases.
~ _~
~ azw 15                      2.      Prong 2: The Availability of Other Evidence
~ ~~
~ o>~
  .--~ ~ N
             16        LVMPD has produced all evidence used to create the CIRT Report —except
~    a~


            ~~   Lopera's CIRT statement. The reason is because LVMPD recognizes that factual evidence
~           18 could potentially be admissible. In addition, Plaintiff is well aware of the policy changes

            19 that LVMPD made as a result of the subject incident (Ex. D at Exhibit #20) and the

            20 discipline the individual defendant officers received.

            21                 3.     Prom 3: The Government's Role in the Litigation

            22          LVMPD is a defendant in this litigation.

            23                 4.     Prong 4: Hindrance of Frank and Independent Discussion

            24          The final (and most important) prong of the Deliberative Process Privilege's four
            25 ~ part test is whether disclosure of the CIRT Report and CIRP documents will hinder future

            26 ~ frank and independent discussion of critical incidents. The answer to that question is

            27 ~ "absolutely." CIRT was created for the sole purpose of creating a privileged document that
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                1 allows LVMPD to self-critically analyze and evaluate itself for the purpose of bettering its

                2 policies, procedures, and/or training. If disclosure of the CIRT report is compelled, the I

                3 damage to the objectives of the CIRT process would be irreparable.                   If the CIRT

                4 investigators and involved officers recognize that the critical and candid opinions they

                5 include in their reports or statements may eventually become public and part of a civil suit, it

                6 is likely that the involved officers will act more cautiously with their opinions. In other

                7 words, the GIRT officers and involved officers will likely become less forthcoming and less

                8 candid with their assessments. Disclosure of the CIRT report will undoubtedly have a

                9 chilling effect upon the admirable goals of the CIRT process. The CIRT procedures for

               10 policy improvement at LVMPD are delicate and depend upon trust and candor. Once these

~              11 reports are made public, the process will be permanently altered to its detriment.
z
w       ~ 12                        5.     Deliberative Process Conclusion
O        °° 13
U                           For the above reasons, it is respectfully submitted that the CIRT report is protected
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      O~ ~"


  _~~ 14 by the Deliberative Process Privilege and is considered privileged information. Further,
UQ~~
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~ ~za w 15 applying the balancing test of Warner Comin'cn, it is cleax that LVMPD's interest in
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     a~
~i o > 0 16         maintaining the privileged nature of the CIRT report substantially outweighs the Plaintiff's
cn
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~       0 17 interest in disclosure. For this reason, the court should extend the Deliberative Process
Ot
~              18 Privilege to the CIRT report.
►~
               19           C.      KENNETH LOPERA'S GIRT STATEMENT
               20           LVMPD recognizes that Kenneth Lopera potentially has a Fifth Amendment right
               21 with respect to his CIRT statement. Therefore, LVMPD defers to Officer Lopera's motion

               22 on this issue.

               23 IV.       CONCLUSION
               24           Based upon the above, LVMPD respectfully requests that this Court issue the
               25 ~ ~ following order:

               26          (1)      Plaintiff's motion to compel LVMPD's CIRT Report is denied as it is
               27 protected by the Deliberative Process Privilege; and
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            1         (2) LVMPD's use of force board decisions and memorandums are protected by the
           2 Deliberative Process Privilege.

           3          Dated this ~ day of January, 2019.
           4
                                                              MARQUIS AURBACH COFFING
           5
                                                                     ~~,1~-t          ~
           6
                                                              By~~
           7                                                         Craig R. Berson, Esq.
                                                                       vada r No. 6882
           8                                                         10001 Park Run Drive
                                                                     Las Vegas, Nevada 89145
           9                                                         Attorneys for Defendants LVMPD,
                                                                     Crumrine, Tran, and Flores
           10

~          11
i~                                            CERTIFICATE OF SERVICE
w      ~ 12
O     °°              I hereby certify that I electronically filed the foregoing DEFENDANT LVMPD'S
U     ~' 13
     ~~
u;~ M
                   OPPOSITION TO PLAINTIFF'S MOTION TO COMPEL DEFENDANT LVMPD'S
U Q~~ 14
~ ~'_ ~a, `~
          X
                 i (1) CIRT REPORT;(2) CIRT STATEMENT OF KEN LOPERA; AND (3) REVIEW
~   ~zw      15'.
~a~~
                   BOARD MINUTES AND DOCUMENTS with the Clerk of the C urt for the United
~ o>~ 16
     ~ N
~     a °~         States District Court by using the court's CM/ECF system on the ~~~~ d~ y of January, 2019.
~         N 17'
                           ~       I further certify that all participants in the case are registered CM/ECF users
~            18
►_~                and that service will be accomplished by the CM/ECF system.
             19
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             24                                      stephanielazo@lagomarsinolaw.com
                                                              Attorney for Plaintiff
             25

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               4
                                                      jnw@mcnuttlawfirm.com
               5                                    Attorney for Defendant Lopera

               6          ❑      I further certify that some of the participants in the case are not registered

               7 CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage prepaid,

               8 or have dispatched it to a third party commercial carrier for delivery within 3 calendar days

               9 to the following non-CM/ECF participants: n/a

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